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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

    

CLERK, o's. DISTRICY COURT
SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA, ) EAST ST. LOUIS OFFICE
Plaintiff, me | 4-3 0] A3-SMY
VS. Title 18, United States Code,
) Section 2252A(a)(2)(B)
LARRY W. MCDANIEL, )

Defendant. F i L. E D

INDICTMENT SEP 18 2019
THE GRAND JURY CHARGES: SOUTHERN DTT en

COUNT 1

DISTRIBUTION OF CHILD PORNOGRAPHY

On or about February 2, 2019, in St. Clair County, Illinois, which is within the Southern

District of Illinois,

LARRY W. MCDANIEL,

defendant herein, did knowingly distribute visual depictions containing child pornography, as
defined in Title 18, United States Code, Section 2256(8)(A), including, but not limited to, the
following: video file “cp tvg 13 bond _10-11-12yo_childlover_little_collection_ video_0039_
girlvicky_string_bikini_pthc_1lyo_pedofilia.mpg”, which depicts sexually explicit conduct, that
had been shipped or transported in or affecting interstate or foreign commerce by any means,

including by computer, all in violation of Title 18, United States Code, Section 2252A(a)(2)(B) &

(b).
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COUNT 2
RECEIPT OF CHILD PORNOGRAPHY

On or about December 26, 2017, in Madison County, Illinois, which is within the Southern

District of Illinois,

LARRY W. MCDANIEL,
defendant herein, did knowingly receive visual depictions containing child pornography, as
defined in Title 18, United States Code, Section 2256(8)(A), including but not limited to the
following: video file “LolitasHouse-ScrtArea_043_Vika.avi”, which depicts sexually explicit
conduct, that had been shipped or transported in or affecting interstate or foreign commerce by
any means, including by computer, all in violation of Title 18, United States Code, Section
2252A(a)(2)(B) & (b)(1).

FORFEITURE ALLEGATION
Upon conviction for the offenses charged defendant, LARRY W. MCDANIEL, shall

forfeit to the United States, pursuant to Title 18, United States Code, Section 2253, any and all
material that contained any images of child pornography and any and all property used and
intended to be used in any manner or part to commit and to promote the commission of the

aforementioned offenses.

The property that is subject to forfeiture referred to above includes, but is not limited to,

the following items all seized from the residence of LARRY W. MCDANIEL:

1) A 1 Terabyte Seagate hard disk drive, serial number Z9ABSRO6Z.;

2) A Samsung Galaxy J7V cellular phone, serial number RS8KC3NCE7T.
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A TRUE BILL

 

CHRISTOPHER R. HOELL
Assistant United States Attorney

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STEVEN D. WEINHOEFT
United States Attorney

Recommended Bond: $10,000
